                         Case 6:18-bk-03545-CCJ                  Doc 3       Filed 06/17/18         Page 1 of 2
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 18-03545-CCJ
Key Building Group, LLC                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-6                  User: badrienne                    Page 1 of 1                          Date Rcvd: Jun 15, 2018
                                      Form ID: Dntcdinv                  Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 17, 2018.
db             +Key Building Group, LLC,   3030 North Rocky Point Way,    Suite 150A,   Tampa, FL 33607-5803
ptcrd          +Arnaldo Fernandez,   560 Bay Isles Road,   #8424,   Longboat Key, FL 34228-0717
27614997       +Key Building Group, LLC,   3275 South John Young Parkway,    Suite 618,
                 Kissimmee, FL 34746-6556

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 17, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 15, 2018 at the address(es) listed below:
              United States Trustee - ORL7/13   USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 1
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[Dntcdinv] [District Notice Deficient Filing Involuntary]



                                                    UNITED STATES BANKRUPTCY COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            ORLANDO DIVISION
                                                            www.flmb.uscourts.gov



In re:                                                                               Case No. 6:18−bk−03545−CCJ
                                                                                     Chapter 7
Key Building Group, LLC



________Debtor*________/



                                  NOTICE OF DEFICIENT FILING OF INVOLUNTARY PETITION
                                        AND OPPORTUNITY TO CURE DEFICIENCIES

   On June 14, 2018, Arnaldo Fernandez ("Petitioning Creditor") filed an involuntary petition against the
above−named Debtor under Chapter 7 of the Bankruptcy Code.

    The involuntary petition is deficient as set forth below. The Petitioning Creditor shall cure the deficiency within
the specified period. If the deficiency is not cured, the Court may dismiss the involuntary petition without further
notice.

           A Statement of Corporate Ownership was not filed for each Petitioning Creditor that is a corporation
           pursuant to Fed. R. Bankr. P. 1010(b) or was filed without an original signature or proper electronic
           signature in compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 9011−4. The Petitioning
           Creditor is directed to file a signed Statement of Corporate Ownership within 14 days of the date of
           this notice.



                                                            FOR THE COURT
              Dated: June 15, 2018                          Sheryl L. Loesch , Clerk of Court
                                                            George C. Young Federal Courthouse
                                                            400 West Washington Street
                                                            Suite 5100
                                                            Orlando, FL 32801


           The Clerk's office is directed to serve a copy of this notice on interested parties.

           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.
